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 3   Assistant Federal Public Defender
     Nevada State Bar No. 11580
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 7   Attorney for EDGAR JAVIER MIRAMONTES-GONZALEZ

 8
                                UNITED STATES DISTRICT COURT
 9
                                     DISTRICT OF NEVADA
10
11
     UNITED STATES OF AMERICA,                          Case No. 3:16-cr-00020-HDM-WGC
12
                   Plaintiff,
13                                                      ORDER GRANTING
            v.                                          STIPULATION TO CONTINUE
14                                                      REVOCATION HEARING
     EDGAR JAVIER MIRAMONTES-GONZALEZ,
15                                                      (FIRST REQUEST)
                   Defendant.
16
17
            IT IS HEREBY STIPULATED AND AGREED by and through RENE L.
18
     VALLADARES, Federal Public Defender and LAUREN D. GORMAN, Assistant Federal
19
20   Public Defender, counsel for EDGAR JAVIER MIRAMONTES-GONZALEZ and

21   NICHOLAS A. TRUTANICH, United States Attorney, and RANDOLPH J. ST. CLAIR,
22
     Assistant United States Attorney, counsel for the UNITED STATES OF AMERICA, that the
23
     Initial Appearance regarding Revocation of Supervised Release hearing set for October 29,
24
     2020, at 9:00 AM, be vacated and continued to December 1, 2020, at 11:30 AM.
25
26          ///
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 1         This Stipulation is entered into for the following reasons:
 2         1.     This is a joint request by counsel for defendant Edgar Javier Miramontes-
 3                Gonzalez and counsel for the Government.
 4         2.     The additional time requested by this Stipulation is reasonable pursuant to
 5                Federal Rule of Criminal Procedure 32.1(b)(2), which states that the “court
 6                must hold the revocation hearing within a reasonable time.”
 7         3.     Mr. Miramontes-Gonzales is currently detained.
 8         4.     The parties agree to the continuance.
 9         5.     This is the first request for a continuance.
10         DATED this 15th day of October, 2020.
11
       RENE L. VALLADARES                                 NICHOLAS A. TRUTANICH
12     Federal Public Defender                            United States Attorney
13
     By /s/ Lauren D. Gorman                     .   By    /s/ Randolph J. St. Clair            .
14      LAUREN D. GORMAN                                  RANDOLPH J. ST. CLAIR
        Assistant Federal Public Defender                 Assistant United States Attorney
15      Counsel for                                       Counsel for the Government
        EDGAR MIRAMONTES-GONZALEZ
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 1                                            ORDER
 2          Based on the Stipulation of counsel, and good cause appearing,
 3   IT IS THEREFORE ORDERED that the Revocation Hearing currently set for October 29,
 4
     2020, at 9:00 AM, be vacated and continued to December 1, 2020, at 11:30 AM in Reno
 5
     Courtroom 4 before Judge Howard D. McKibben. IT IS SO ORDERED.
 6
            DATED this 16th day of October, 2020.
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10
                                                UNITED STATES MAGISTRATE JUDGE
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